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                                   4                                     UNITED STATES DISTRICT COURT

                                   5                                    NORTHERN DISTRICT OF CALIFORNIA

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                                   7     RICHARD EDWARD WORTHY,                               Case No. 20-cv-05558-EMC
                                   8                       Plaintiff,                         ORDER GRANTING IN PART AND
                                                                                              DENYING IN PART DEFENDANTS’
                                   9                v.                                        MOTION FOR LEAVE TO FILE
                                                                                              MOTION FOR RECONSIDERATION
                                  10     CITY OF BERKELEY, et al.,
                                                                                              Docket No. 50
                                  11                       Defendants.

                                  12
Northern District of California
 United States District Court




                                  13                                          I.      INTRODUCTION

                                  14           Now pending is Defendants’ motion for leave to file motion for reconsideration of two

                                  15   issues in the Court’s summary judgment order. Docket No. 50 (“Motion”). For the following

                                  16   reasons, the Court GRANTS in part and DENIES in part Defendants’ motion.

                                  17                                        II.     LEGAL STANDARD

                                  18   A.      Motion for Reconsideration (N.D. Cal. L.R. 7-9)

                                  19           Pursuant to N.D. Cal. Local Rule 7-9, a party moving for leave to seek reconsideration of

                                  20   an interlocutory order must show reasonable diligence in bringing the motion, and one of the

                                  21   following:

                                  22                     (1) That at the time of the motion for leave, a material difference in
                                                             fact or law exists from that which was presented to the Court
                                  23                         before entry of the interlocutory order for which reconsideration
                                                             is sought. The party also must show that in the exercise of
                                  24                         reasonable diligence the party applying for reconsideration did
                                                             not know such fact or law at the time of the interlocutory order;
                                  25                         or
                                  26                     (2) The emergence of new material facts or a change of law
                                                             occurring after the time of such order; or
                                  27
                                                         (3) A manifest failure by the Court to consider material facts or
                                  28                         dispositive legal arguments which were presented to the Court
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                                                          before such interlocutory order.
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                                   2   L.R. 7-9(b).

                                   3                                         III.      ANALYSIS

                                   4           Defendants filed the pending motion on November 24, one day after the Court entered its

                                   5   order granting in part and denying in part Defendants’ motion for summary judgment. See Docket

                                   6   Nos. 49, 50. Thus, Defendants have shown reasonable diligence in moving for reconsideration.

                                   7   See L.R. 7-9(b). The Court addresses Defendants’ two requests for reconsideration in turn:

                                   8   A.      Defendant Chief Greenwood’s Motion for Summary Judgment

                                   9           Defendants note that Defendant former Chief Greenwood moved for summary judgment,

                                  10   but the Court’s summary judgment order did not decide his motion one way or another. Motion at

                                  11   2. Defendants’ observation is correct and satisfies L.R. 7-9(b)(3). The Court did not expressly

                                  12   and dispositively decide the motion for summary judgment as to Defendant former Chief
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                                  13   Greenwood.

                                  14           The Court clarifies that Defendant former Chief Greenwood is entitled to summary

                                  15   judgment on all claims in this case. The Court previously held that there was no basis for

                                  16   Plaintiff’s theories of supervisory liability. Docket No. 49 (“SJ Order”) at 23. But the Court

                                  17   failed explicitly to state that Defendant Greenwood is included in that ruling. The Court now

                                  18   clarifies its summary judgment order and grants summary judgment to Defendant Greenwood on

                                  19   all claims.

                                  20   B.      Causation of 5150 Arrest

                                  21           Defendants contend that Officers Turney and Walther were not the legal cause of

                                  22   Plaintiff’s arrest and detention under Cal. Welf. & Inst. Code § 5150 and thus may not be held

                                  23   liable for the remaining causes of action against them – Count 4 (false arrest) and Count 7

                                  24   (negligence). Motion at 2. In seeking reconsideration, Defendants argue that “the Court did not

                                  25   address Officer Turney and Officer Walther’s central argument that there is no evidence that they

                                  26   were the cause of Officer Villarroel’s decision to 5150 plaintiff.” Id.

                                  27           Defendants are not entitled to reconsideration on this ground. Defendants fail to

                                  28   demonstrate “[a] manifest failure by the Court to consider material facts or dispositive legal
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                                   1   arguments which were presented to the Court.” L.R. 7-9(b)(3). In Defendants’ motion for

                                   2   summary judgment, they argued that “Officers cannot be held liable merely for being present at

                                   3   the scene of a constitutional violation.” Docket No. 38 at 15. The only cases Defendants cited in

                                   4   support of their argument examine whether officers may be liable for federal law violations under

                                   5   § 1983. Id. at 15-16. The Court’s summary judgment order held that Officers Turney and

                                   6   Walther were entitled to qualified immunity from liability on Plaintiff’s federal law § 1983 claims.

                                   7   SJ Order 15-18. Having granted Officers Turney and Walther summary judgment on Plaintiff’s

                                   8   federal law § 1983 claims, it was not necessary for the Court to address Defendants’ argument that

                                   9   they were not the legal cause of Plaintiff’s arrest.

                                  10          In seeking reconsideration, Defendants argue that Officers Turney and Walther are not

                                  11   liable for Plaintiff’s state law claims (Counts 4 and 7). Motion at 2. But Defendants did not cite a

                                  12   single case or any other authority in their summary judgment motion holding that an officer is not
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                                  13   liable for the state law torts of false arrest and negligence unless they were the “legal cause” of the

                                  14   arrest. And Defendants do not cite any authority so holding in the currently pending motion.

                                  15   Thus, Defendants fail to satisfy L.R. 7-9(b)(3) and are not entitled to reconsideration on this

                                  16   ground.

                                  17                                        IV.       CONCLUSION

                                  18          For the foregoing reasons, the Court GRANTS in part and DENIES in part Defendants’

                                  19   motion for leave to seek reconsideration, as follows:

                                  20              •   Summary judgment is granted to Defendant Greenwood on all counts.

                                  21              •   Defendants’ motion for leave to seek reconsideration as to Officers Turney and

                                  22                  Walther’s liability under state law, Counts 4 and 7, is denied.

                                  23          This order disposes of Docket No. 50.

                                  24          IT IS SO ORDERED.

                                  25

                                  26   Dated: December 3, 2021

                                  27                                                     ______________________________________
                                                                                          EDWARD M. CHEN
                                  28                                                      United States District Judge
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